          Case 1:14-cv-09282-VEC Document 187 Filed USDC          10/16/20
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                                                                  DOC #:
UNITED STATES DISTRICT COURT                                      DATE FILED: 10/16/2020
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------- X
 BIRCH SHIPPING LTD.,                                           :
                                                                :
                                              Plaintiff,        :   14-CV-9282 (VEC)
                            -against-                           :
                                                                :        ORDER
 CHEMOIL LATIN AMERICA INC.,                                    :
 ING BANK N.V.,                                                 :
                                                                :
                                              Defendants. X
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VALERIE CAPRONI, United States District Judge:

       WHEREAS on October 16, 2020, the parties appeared for a telephone conference;

       IT IS HEREBY ORDERED that the parties are to appear for a telephone conference on

Tuesday, December 15, 2020, at 2:30 P.M. The parties must submit a joint letter of no more

than five pages by no later than Tuesday, December 8, 2020, providing an update on the status

of the dispute and the prospect for settlement. All parties and any interested members of the

public must attend by dialing 1-888-363-4749, using the access code 3121171, and the security

code 9282. All attendees are advised to mute their phones when not speaking and to self-identify

each time they speak.



SO ORDERED.
                                                    _________________________________
Date: October 16, 2020                                    VALERIE CAPRONI
      New York, New York                                  United States District Judge
